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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

  INNOVATION SCIENCES, LLC,
            Plaintiff,
       v.                                   Civil Action No.4:18-cv-00474-ALM
                                            Consolidated Lead Case
  AMAZON.COM, INC., ET AL.,
           Defendants.
  INNOVATION SCIENCES, LLC,
            Plaintiff,
       v.                                   Civil Action No.4:18-cv-00475-ALM
                                            Member Case
  RESIDEO TECHNOLOGIES, INC.,
            Defendant.
  INNOVATION SCIENCES, LLC,
            Plaintiff,
       v.                                   Civil Action No.4:18-cv-00476-ALM
                                            Member Case
  HTC CORPORATION,
            Defendant.
  INNOVATION SCIENCES, LLC,
            Plaintiff,
       v.                                   Civil Action No.4:18-cv-00477-ALM
                                            Member Case
  VECTOR SECURITY, INC.,
            Defendant.

        EMERGENCY MOTION FOR SANCTIONS AND TO ADJUST EXPERT
                        REPORT DEADLINES
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        Plaintiff Innovation Sciences, LLC (“Innovation”) files this emergency motion for

 sanctions. Defendants have violated this Court’s orders governing the production of documents by

 producing thousands of pages after the deadline for exchange of Mandatory Disclosures. In

 addition, defendants have not produced witnesses on key issues necessary for preparation of

 Innovation’s expert reports on infringement and damages. As explained below, one of the sanctions

 Innovation seeks is a 30-day extension of the deadlines for it to serve its expert reports. Currently,

 that deadline is October 30, 2019.

 I.     ARGUMENT
        The Court issued its Order Governing Proceedings on October 3, 2018. See Dkt. 10.1 That

 order defines the Mandatory Disclosures as including “all documents, electronically stored

 information, and tangible things that are in the possession, custody, or control of the party relevant

 to the clams or defenses of any party.” Dkt. 10 at 4. This broad language encompasses traditional

 paper and electronic documents as well as email. The January 4, 2019 Scheduling Order set the

 deadline for exchange of Mandatory Disclosures as April 11, 2019. Dkt. 38 at 1. The parties

 informally agreed to extend that deadline to April 17, 2019. In early April 2019, Innovation

 realized that the defendants did not intend to produce all documents and things by the April 17,

 2019 deadline. Instead, defendants argued that the deadline for completion of their production of

 documents and things was August 14, 2019. Thus, Innovation scheduled a telephonic hearing on

 April 12, 2019 with the Court asking for clarification of the Order Governing Proceedings and the

 Scheduling Order, to the extend necessary.

        Innovation’s counsel explained that waiting to produce documents by August 14, 2019

 would make it very difficult, if not impossible, to review the documents, prepare for and take the

 1
   Substantively, the same order was entered in the Resideo, HTC, and Vector Security cases at
 about the same time.


                                                   1
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 necessary depositions, and fold that information and testimony into expert reports, which at the time

 were due on September 11, 2019.2

          During that April 12th hearing, the Court explained that April 17, 2019 was the deadline for

 substantial completion of the parties’ document production. See Exh. 1 at 7. The August 14, 2019

 deadline was a deadline for supplementation. Id. The Court also made it clear that a party would

 be “sanctioned if you wait until August 14th. That is not appropriate.” Id.

          The defendants did not comply with the Court’s orders, or the Court’s admonition during

 the April 12th hearing, regarding their production of documents, ESI, and things. The following

 table shows the number of pages of document production by each defendant, and by time period.

 The table also totals each of the defendants’ individual production numbers into a collective total

 for each period. These numbers do not include defendants’ production of about 50,000 pages of

 email in the last month.

  Producing Party       Through April      May 1 – July 31,       August 1-30,       Sept. 1 – October
                          30, 2019              2019                 2019                15, 2019

 Amazon                          12,239                  515              11,595               11,445

 Resideo                          7,491                  129                     0             23,942

 HTC                              8,896                 2,087              5,858                6,977

 Vector                             856                11,654                  123             10,889

 Total                           29,482                14,385             17,576               53,253


 Without even counting their belated email production, the defendants have collectively produced

 about 46% of their documents and things since September 1, 2019. And defendants’ document




 2
     That deadline was subsequently moved to October 30, 2019. See Dkt. 182 at 3.


                                                   2
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 production continues. The following table shows each of the productions made by the defendants,

 the date of those productions, and the document identification numbers included in the production.3

        Date       Party        Volume No.                           Bates Range
     2019-02-13   Vector      VECTOR-IS-001         VECTOR-IS-0000001 - VECTOR-IS-0000438
     2019-02-21   Vector      VECTOR-IS-002         VECTOR-IS-0000439 - VECTOR-IS-0000553
     2019-03-19   Amazon          N/A                 AMZ_VIS00010996 - AMZ-VIS00012156
     2019-03-25   Amazon      AMZ_VIS_lll01           AMZ-VIS00000001 - AMZ-VIS00009842
     2019-04-01   Amazon      AMZ_VIS_III02           AMZ_VIS00010996 - AMZ-VIS00012156
     2019-04-10   Vector      VECTOR-IS-003         VECTOR-IS-0000554 - VECTOR-IS-0000617
     2019-04-17   Amazon      AMZ_VIS_III03           AMZ_VIS00012157 - AMZ_VIS00012239
     2019-04-17                                       AMZ-VISIII-PA00000001 - AMZ-VISIII-
                  Amazon    AMZ-VIS_III_PA01                        PA00005255
     2019-04-17   Vector     VECTOR-IS-004          VECTOR-IS-0000618 - VECTOR-IS-0000856
     2019-04-18   Resideo   RESPA_PROD001                  ResPA0000001 - ResPA0003349
     2019-04-18   Resideo    RES_PROD001                     RES0000001 - RES0007491
     2019-04-18    HTC          DEFS001                  DEFS_00000001 - DEFS_00003113
     2019-04-18    HTC         IS-HTC001                IS-HTC00000001 - IS-HTC00008896
                               April 17, 2017 Deadline Plus One Day
     2019-05-17   Amazon      AMZ_VIS_III04            AMZ_VIS00012240 - AMZ_VIS00012387
     2019-05-31    HTC          IS-HTC002                IS-HTC00008897 - IS-HTC00009024
     2019-06-04   Vector      VECTOR-IS-005           VECTOR-IS-0000857 - VECTOR-IS-0000870
     2019-06-06   Vector      VECTOR-IS-006           VECTOR-IS-0000871 - VECTOR-IS-0012025
     2019-06-11    HTC          IS-HTC003                IS-HTC00009025 - IS-HTC00010172
     2019-06-14    HTC          IS-HTC004                IS-HTC00010173 - IS-HTC00010235
     2019-06-17   Vector      VECTOR-IS-007           VECTOR-IS-0012026 - VECTOR-IS-0012144
     2019-06-22                                        AMZ-VISIII-PA00005256 - AMZ-VISIII-
                  Amazon    AMZ-VIS_III_PA02                       PA00005633
     2019-06-28   Amazon     AMZ_VIS_III05             AMZ-VIS00005063 - AMZ-VIS00009841
     2019-07-01   Vector     VECTOR-IS-008            VECTOR-IS-0012145 - VECTOR-IS-0012406
     2019-07-03   Amazon     AMZ_VIS_III06             AMZ_VIS00012388 - AMZ_VIS00012754
     2019-07-03   Resideo    RES_PROD002                     RES0007492 - RES0007620
     2019-07-03    HTC         IS-HTC005                 IS-HTC00010236 - IS-HTC00010911
     2019-07-05    HTC         IS-HTC006                 IS-HTC00010912 - IS-HTC00010983
     2019-07-08   Vector     VECTOR-IS-009            VECTOR-IS-0012407 - VECTOR-IS-0012510
     2019-07-30   Vector     VECTOR-IS-010            VECTOR-IS-0012511 - VECTOR-IS-0012633
     2019-08-01   Amazon     AMZ_VIS_III07             AMZ_VIS00012755 - AMZ_VIS00015687
     2019-08-07   Amazon     AMZ_VIS_III08             AMZ_VIS00015688 - AMZ_VIS00024264


 3
   The rows in gray correspond to email productions, which Innovation is not using as a basis for
 this motion.


                                                  3
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     Date       Party       Volume No.                       Bates Range
  2019-08-08    HTC         IS-HTC007              IS-HTC00010984 - IS-HTC00016494
  2019-08-26   Amazon     AMZ-VIS_III09          AMZ_VIS00024265 - AMZ_VIS00024349
  2019-08-27    HTC         IS-HTC008              IS-HTC00016495 - IS-HTC00016841
  2019-08-30   Vector     VECTOR-IS-010         VECTOR-IS-0012511 - VECTOR-IS-0012633
  2019-09-03    HTC         IS-HTC009              IS-HTC00016842 - IS-HTC00017174
  2019-09-06   Amazon     AMZ_VIS_III10          AMZ_VIS00024350 - AMZ_VIS00035132
  2019-09-06   Amazon     AMZ_VIS_III11                   AMZ_VIS00035133
  2019-09-06    HTC         IS-HTC010              IS-HTC00017175 - IS-HTC00017461
  2019-09-07    HTC         IS-HTC011              IS-HTC00017462 - IS-HTC00017752
  2019-09-10    HTC         IS-HTC012              IS-HTC00017753 - IS-HTC00017821
  2019-09-11   Vector     VECTOR-IS-011         VECTOR-IS-0012634 - VECTOR-IS-0012652
  2019-09-13   Amazon     AMZ-VIS_III12          AMZ_VIS00035134 - AMZ_VIS00035656
  2019-09-13   Amazon     AMZ-VIS_III13          AMZ_VIS00035657 - AMZ_VIS00035662
  2019-09-13   Resideo    RES_PROD003                  RES0007621 - RES0016943
  2019-09-16   Amazon     AMZ-VIS_III14          AMZ_VIS00035663 - AMZ_VIS00049529
  2019-09-16   Resideo    RES_PROD004                  RES0016944 - RES0017130
  2019-09-17   Amazon     AMZ-VIS_III15          AMZ_VIS00049530 - AMZ_VIS00050413
  2019-09-17   Amazon     AMZ-VIS_III16          AMZ_VIS00050414 - AMZ_VIS00050714
  2019-09-17   Resideo    RES_PROD005                  RES0017131 - RES0017145
  2019-09-17   Resideo    RES_PROD006                  RES0017146 - RES0017633
  2019-09-17    HTC          HAL001                  HAL_00000001 - HAL_00000524
  2019-09-17   Vector     VECTOR-IS-012         VECTOR-IS-0012653 - VECTOR-IS-0015468
  2019-09-18   Resideo    RES_PROD007                  RES0017634 - RES0028642
  2019-09-18   Vector     VECTOR-IS-013         VECTOR-IS-0015469 - VECTOR-IS-0020733
  2019-09-19   Resideo    RES_PROD008                  RES0028643 - RES0031854
  2019-09-20   Amazon     AMZ-VIS_III17          AMZ_VIS00050715 - AMZ_VIS00050725
  2019-09-20   Vector     VECTOR-IS-014         VECTOR-IS-0020734 - VECTOR-IS-0023013
  2019-09-24   Vector     VECTOR-IS-015         VECTOR-IS-0023014 - VECTOR-IS-0023090
  2019-09-25   Resideo    RES_PROD009                  RES0031855 - RES0034765
  2019-09-27   Vector     VECTOR-IS-016         VECTOR-IS-0023091 - VECTOR-IS-0023490
  2019-10-07   Amazon     AMZ-VIS_III18          AMZ_VIS00050726 - AMZ_VIS00050826
  2019-10-07   Vector     VECTOR-IS-017         VECTOR-IS-0023491 - VECTOR-IS-0040573
  2019-10-08   Resideo    RES_PROD010                  RES0034766 - RES0034774
  2019-10-08    HTC          HAL002                  HAL_00000525 - HAL_00000534
  2019-10-08   Vector     VECTOR-IS-018         VECTOR-IS-0040574 - VECTOR-IS-0041527
  2019-10-09   Resideo    RES_PROD010                  RES0034766 - RES0034774
  2019-10-09    HTC         IS-HTC013              IS-HTC00017822 - IS-HTC00023818
  2019-10-11   Vector     VECTOR-IS-019         VECTOR-IS-0041528 - VECTOR-IS-0059162
  2019-10-14   Vector     VECTOR-IS-020         VECTOR-IS-0059163 - VECTOR-IS-0059194
  2019-10-15                                     AMZ-VISIII-PA00005634 - AMZ-VISIII-
               Amazon    AMZ-VIS_III_PA03                    PA00012158


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     Date         Party         Volume No.                         Bates Range
  2019-10-15                                           AMZ-VISIII-PA00012159 - AMZ-VISIII-
                 Amazon     AMZ-VIS_III_PA04                       PA00012191
  2019-10-15                                           AMZ-VISIII-PA00012192 - AMZ-VISIII-
                 Amazon     AMZ-VIS_III_PA05                       PA00012225
  2019-10-15     Amazon     AMZ-VIS_III_PA06            AMZ-VISIII-PA00005643-N-04.001 -
                                                        AMZ-VISIII-PA00005666-N-12.012
  2019-10-15     Amazon                                    AMZ_HTC_SUB00000001 -
                             AMZ-HTC_SUB01                  AMZ_HTC_SUB00000021
  2019-10-15     Amazon       AMZ-VIS_III19            AMZ_VIS00050827 - AMZ_VIS00050847
  2019-10-15     Amazon       AMZ-VIS_III20            AMZ_VIS00050848 - AMZ_VIS00050849
 Everything defendants’ produced after the end of April 2019 violated the Court’s orders. Knowing

 Innovation’s discovery plan as Plaintiff’s counsel conveyed numerous times as required under L.R.

 AT-3 to facilitate discovery. wanted complete document production from the defendants before

 taking depositions. That was the point Innovation’s counsel made at the April 12 telephonic

 hearing. Moreover, Innovation needed the documents with enough time to properly prepare for the

 depositions, and take the depositions with enough time remaining before opening expert reports

 were due so that the testimony and other information from the depositions could be folded into the

 expert reports. Instead, Innovation has been taking depositions weekly since mid-September and

 has additional depositions scheduled through the end of October. These depositions are occurring

 as defendants continue to make additional document production.

        Even more egregiously, certain of the defendants have not even provided witnesses on

 topics such as the structure, function, and operation of the accused instrumentalities, and company

 financials. Amazon has not provided a witness on the way its cloud stores and associates customer

 data associated with the accused Echo, Fire TV, and Fire Tablet products. HTC refuses to give a

 date for a corporate representative on financial issues. And HTC has not provided a date for the

 deposition of its technical witness to discuss the structure, function, and operation of the accused

 phones, after HTC unilaterally cancelled the deposition date because the witness had to travel. It

 turns out he is traveling to the U.S. from Taiwan, but HTC made no accommodation to take this


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 corporate representative’s deposition while in the U.S. Plaintiff now seeks relief from the Court.

 Without an order from the Court, HTC will not make any of its corporate representatives available

 both financial and technical witnesses, until November – after the October 30, 2019 due date for

 Innovation’s expert reports on damages and infringement.

        During the depositions Innovation has taken, Amazon’s witnesses identified key economic

 documents that have not been produced and for which an additional deposition may be required.

 Innovation requested production of those documents during the witnesses’ depositions in

 September, but based on Innovation’s review of the documents produced by Amazon, those

 documents do not appear to be in Amazon’s production yet.

        With expert reports currently due on October 30, 2019, there is no chance Innovation will

 be able to complete all of the necessary depositions in time to get that testimony into its expert

 reports on damages and infringement. This problem was caused by defendants’ failure to timely

 produce their documents in accordance with the Court’s order.

        Innovation has been diligent in its efforts to get documents from defendants. As an

 example, the following is the timeline of events Innovation took with respect to production of

 Amazon’s documents.

 October 3, 2018 – Judge Mazzant issues “Order Governing Proceedings (Patent Cases)”
 (Dkt No. 10) defining Mandatory Disclosures to include “a copy of, or a description by category
 and location where each is available for inspection and copying, all documents, electronically
 stored information, and tangible things that are in the possession, custody, or control of the party
 relevant to the claims or defenses of any party.”

 January 4, 2019 – Judge Mazzant issues Scheduling Order (Dkt. No. 38) setting deadline of
 April 11, 2019 for “To extent not already required to be disclosed, exchange Mandatory
 Disclosures on all issues, including damages.”

 February 22, 2019 - Innovation Sciences, LLC (“Innovation”) counsel Don Jackson wrote to
 Amazon counsel Todd Gregorian pursuant to the practice employed in the Eastern District of
 Texas to request that Defendant Amazon.com, Inc. (“Amazon”) produce certain documents
 identified in 16 specified categories (“Innovation’s February 22 Letter”).



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 March 5, 2019 – Amazon counsel Jeffery Ware responded to Innovation’s February 22 Letter
 stating that “Amazon intends to produce documents required of it in the manner and according to
 the timelines set forth in the local rules, order governing proceedings, and scheduling order
 subject to the restrictions and limits provided by Rules 26 and 34 of the Federal Rules of Civil
 Procedure. See Local Rules P.R. 3-3, 3-4, 3-7, 4-2 and C.V. 26; Dkt. Nos. 10, 38; Fed. R. Civ. P.
 26, 34.”

 March-April 2019 – Parties generally dispute when documents subject to Mandatory Disclosure
 are due with Innovation saying April 11, 2019 and Defendants saying August 14, 2019.

 April 12, 2019 - Telephone Conference with Hon. Amos L. Mazzant, Judge Mazzant confirmed
 “The Plaintiff is correct that the deadline was April 11. I know you extended it to April 17th for
 disclosure of all documents, including documents relating to damages and disclosures regarding
 that as well.” April 12, 2019 Tr. at 7:14-17.

 April 17, 2019 – By this date, Amazon had produced 1229 documents. 142 of the documents
 were Amazon’s identified prior art. The vast majority of the remaining documents nearly 1,100
 documents were individual webpages that are publicly available product “Help” and “Support”
 pages from the current Amazon.com website. Each individual webpage was assigned a separate
 document number. Also, many of the nearly 1,100 documents were duplicated in the production.
 Almost no internal company documents were provided in this production.

 June 13, 2019 -- Innovation counsel Greg Krauss wrote to Amazon counsel Todd Gregorian
 (“Innovation’s June 13 Letter”) raising issues regarding Amazon’s document production noting
 “[i]t appears that the bulk of Amazon’s production is comprised of printouts of publicly available
 ‘Help’ and ‘Support’ webpages for the Accused Instrumentalities from the Amazon.com
 website.” Letter asks for internal Amazon documents that describe structure, function and
 operation of the Amazon Accused Instrumentalities, schematics, technical specifications,
 software or firmware description documents and notes that Amazon did not even produce its
 FCC submission documents. 6/13 Letter at 4.

 June 21, 2019 – Innovation counsel Greg Krauss e-mailed Amazon counsel Todd Gregorian
 “May I have the courtesy of a response? Please provide a date and time we can meet and confer
 about the insufficiency of Amazon’s document production. If we do not have all of Amazon’s
 documents in 10 days we will raise the issue with Judge Mazzant.”

 June 21, 2019 – Amazon counsel Todd Gregorian responds “We are reviewing the issues raised
 by [Innovation’s] letter and will be responding next week.”

 June 24, 2019 – Innovation counsel Greg Krauss e-mailed Amazon counsel Todd Gregorian
 “We still need a date this week to meet and confer. Amazon's documents were required to be
 produced by April 17th. We expect all documents by July 1, 2019.”

 June 25, 2019 – Amazon counsel Sapna Mehta responds to Innovation’s June 13 Letter stating,
 among other things “We write in response to your June 13, 2019 letter regarding Amazon’s
 document production. Amazon produced documents in good faith and in accordance with the
 Court’s requirements. While Amazon is willing to confer regarding requests for relevant
 discovery proportional to the needs of the case, your letter is a form recitation of each of VIS’s

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 document requests, without any explanation of how the requested information is relevant to the
 claims and defenses in this case, and made without consideration of the documents Amazon has
 already produced.” Letter discusses other categories. Letter claims Amazon produced
 schematics but cites to ridiculous examples and requires Innovation to “identify the specific
 information – not the general types of documents—you believe to be missing in Amazon’s
 production to date, we can consider your request and conduct additional searches if necessary.”
 6/25 Letter at 2. In response to Innovation’s 6/13 Letter noting that “With the possible exception
 of [two document cites], Amazon did not produce strategic road maps…” Amazon’s 6/25 Letter
 responds “As your letter acknowledged, Amazon did produce strategic product plans and market
 information related to the accused products. It is unclear what additional information
 [Innovation] contends it needs.” 6/25 Letter at 4.

 June 28, 2019 – Parties meet and confer – Sapna Mehta for Amazon; Don Jackson and Greg
 Krauss for Innovation.

 June 28, 2019 – Innovation counsel Don Jackson sends follow-up e-mail to Sapna Mehta
 stating, among other things, “To be clear, during our meet and confer today, we reiterated that
 the documents we seek are all of the documents within the categories we identified plus all
 relevant documents as defined by the local rules and the court’s orders… During our call, you
 repeatedly admitted that you would check whether Amazon would produce those documents, or
 identify them in Amazon’s production. We have already checked and those documents were not
 produced. Due to the failure to produce on a timely basis, Amazon is already in contempt of the
 court’s orders. Within the next three days, please confirm that all relevant documents, including
 those identified in our correspondence and those relevant under the court’s orders and local rules,
 will be produced in the next 10 days. Otherwise, we will seek guidance from the court, as I
 indicated during our call.”

 July 1, 2018 – Amazon counsel Sapna Mehta responds to Innovation counsel Don Jackson’s e-
 mail “As I explained during our call on Friday, Amazon produced documents in accordance
 with the Court’s requirements. I was still prepared to confer regarding additional documents
 your team needs to prepare your client’s case, but unfortunately, you were not able to identify
 specific information and instead pointed to all categories of documents requested. But, as I
 explained, Amazon already produced documents in the requested categories… Your inability to
 describe what specific information is purportedly missing from Amazon’s production did not
 provide us with an opportunity to meaningfully confer, which the Court requires before seeking
 the Court’s intervention. We did consider and plan to make a supplemental document
 production shortly of the documents that you were able to identify with specificity during our
 call after my repeated requests to do so. We are working to produce them next week, but as I am
 sure you understand, it may take longer than usual to collect given the holiday this week.”

 July 3, 2019 – Amazon produced an additional 28 documents comprised of 13 product
 schematic / block diagrams, 12 parts list spreadsheets, 2 “Business Requirements Documents”
 and 1 “Go to Market” (“GTM”) document.

 July 31, 2019 – Innovation counsel Greg Krauss e-mailed Amazon counsel “It appears that
 Amazon’s production of additional documents after our June 28, 2019 meet and confer is over.
 Amazon’s last production of documents was four weeks ago on July 3, 2019. Innovation


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 believes Amazon’s production remains deficient despite Amazon’s representations that it has
 produced documents in accordance with the Court’s requirements. We will seek a time from the
 Court to have a call with Judge Mazzant for guidance.”

 August 1, 2019 – Amazon produced an additional 52 documents comprised of 30 BRD
 (Business Requirement Documents) for code named projects, some of which are new code
 names (still no “key” to the code names at this point), 13 documents/ .wav files from the VIS v.
 Amazon case in EDVA and 9 miscellaneous documents like “microphone best practices”.

 August 2, 2019 5:44 PM EST -- Innovation counsel Don Jackson e-mailed Amazon counsel
 “We contacted the court today to ask for a telephone hearing regarding some of the outstanding
 discovery issues. The clerk indicated that they would either provide time slots on Monday, or
 just set a time. If they set a time that does not work for the parties, we can ask them to
 reschedule the hearing.”

 August 2, 2019 8:58 PM EST – Amazon counsel Sapna Mehta responds “Which discovery
 issues does VIS intend to raise with the Court? To the extent VIS requested a call regarding
 Amazon’s document productions, VIS did not meaningfully confer before asking the Court to
 intervene. We made a production yesterday. We expect to serve supplemental interrogatory
 responses soon and to produce additional documents over the next couple of weeks. Based on
 our last conversation, the materials provided should address VIS’s concerns. If, after reviewing
 the information, VIS contends there is specific information missing, we are willing to discuss.
 But there isn’t a dispute that is ripe to be presented to the Court now, particularly given the
 schedule extension.

 August 5, 2019 – Meet and confer Sapna Mehta and Tom Gorham for Amazon, Don Jackson,
 Greg Krauss, and Aldo Noto for Innovation.

 August 6, 2019 – Innovation counsel Greg Krauss e-mailed Amazon counsel:
 “This follows up on yesterday’s meet and confer call.

 1. Innovation stands by the requests made in its February 22, 2019 and June 13, 2019 letters.
 The following specific types of documents were noted as missing/incomplete and specifically
 requested yesterday:

 - Circuit schematic/block diagrams for each version of each Accused Instrumentality

 - “Business Requirement Documents” (“BRD”) or equivalent for each version of each Accused
 Instrumentality

 - “Go to Market” (“GTM”) or equivalent for each version of each Accused Instrumentality

 - Documents that cross reference the internal Amazon project name (as used in circuit schematic/
 block diagrams, BRDs, and other documents) with the commercial name of the Accused
 Instrumentality version

 - Software/firmware description documents for each version of each Accused Instrumentality



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 - FCC submissions for each version of each Accused Instrumentality

 - Documents reflecting revenue and profitability from content delivered through Accused
 Instrumentalities, including Prime membership revenue or other types of revenue in which
 content delivery is included as part of the payment made by the customers

 - Agreements and/or contracts between Amazon (or any of its subsidiaries) and any third party
 regarding the provision of cloud services in connection with the Accused Instrumentalities

 - Cost of Goods Sold figures not bundled with “Variable” and “Other” costs (as
 AMZ_VIS00010997 – 11002 does)

 - “Play book” Documents like AMZ_VIS00003276 for each version of each Accused
 Instrumentality

 - “Architecture Review” Documents like AMZ_VIS00004449, AMZ_VIS00004430 for each
 version of each Accused Instrumentality

 - “Marketing Roadmap” Documents like AMZ_VIS00003500 for each version of each Accused
 Instrumentality

 - “Marketing and Communication” (“MARCOM”) strategy documents like AMZ_VIS00003447
 for each version of each Accused Instrumentality

 - Amazon’s database(s) that correlate(s) Amazon account holders, their Alexa-enabled devices,
 and services in the Amazon ecosystem, and that shows how Amazon customers owning or using
 the Amazon Accused Instrumentalities, and Resideo’s, HTC’s, and Vector’s customers owning
 or using the Resideo, HTC and Vector Accused Instrumentalities, actually use the accused
 products to monitor and/or control other devices, such as smart home devices. Innovation
 requests these databases for the period from August 1, 2017 for customers located in the U.S.

 - Documents that describe how Alexa-enabled devices, users, and services are all correlated in
 the Amazon ecosystem, including the database schema(s)

 2. Although not specifically discussed yesterday – documents showing Amazon’s corporate
 structure and Organizational Charts for departments responsible for the design, manufacture, and
 marketing of the Accused Instrumentalities from January 1, 2015 to the present.

 3. If Amazon’s document production is not complete by August 21, 2019, we will schedule a
 discovery call with the Court to seek an order compelling production of these documents.

 August 7, 2019 -- Amazon produced a set of documents comprised of 10 sets of FCC
 submission documents (5 tablets, 4 Alexa/Echo devices, and the Fire TV Stick 4K.)

 August 9, 2019-- Innovation counsel Greg Krauss e-mailed Amazon counsel “Innovation is in
 receipt of Amazon’s August 7, 2019 document production. The production is comprised of 10
 sets of FCC submission documents … As you know, there are more Accused Instrumentalities
 than that. By way of example, and without limiting Innovation’s request or Amazon’s


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 obligations, the production did not contain FCC submissions for the accused …, Echo Spot, Fire
 TV Stick 2nd Generation, Fire TV 3rd Generation, or Fire TV Cube. Please advise when Amazon
 will produce the missing FCC submission documents. Further, please advise which of the below
 documents Amazon is going to produce and when.

 August 20, 2019 (the day before Innovation’s August 21, 2019 deadline) – Amazon counsel
 Sapna Mehta e-mailed Innovation counsel “Following-up on our meet and confer, we are
 reviewing and collecting the categories of documents you requested. We are also looking into
 your requests for additional FCC submissions, schematics, and business review documents, like
 the ones already produced, for other devices. As I mentioned during our calls, this requires
 coordination with several different teams at Amazon given the number of products.”

 September 4, 2019 – Innovation submits discovery letter brief to Judge Mitchell.

 September 6, 2019 – Parties conduct discovery hearing with Judge Mitchell.

        Innovation has diligently sought documents not only from Amazon, but also from the other

 defendants. But, based on the production schedule listed above, it is clear that defendant waited as

 long as they could to produce the bulk of their documents. If the expert report deadlines for

 Innovation remain unchanged, the defendants will have succeeded in their strategy to force

 Innovation to serve incomplete or lower quality expert reports. Innovation tried to avoid this very

 situation when it raised the issue of the document production deadline on the April 12, 2019 hearing

 with Judge Mazzant.     Defendants effectively thumbed their nose at the Court’s orders, and

 produced documents on the schedule they wanted.

        Innovation seeks the following sanctions for defendants’ behavior. First, the deadline for

 Innovation to serve its expert reports (opening and rebuttal) should be extended by 30 days.

 Assuming defendants cooperate on document production and scheduling depositions, this time

 should allow Innovation to review defendants’ documents that continue to be produced, take the

 necessary depositions, and incorporate that testimony and information into its expert reports.

 Second, the defendants should be precluded from using or relying on any documents, ESI or things

 produced after April 2019. Defendants should not be able to profit from their refusal to follow the

 Court’s orders. Third, defendants should be required to pay attorney’s fees to Innovation for the


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 work done to prepare this motion, any replies to this motion, and any hearing that may be held on

 this motion.

        For the foregoing reasons, Innovation respectfully requests that the Court find that

 defendants have failed to comply with the Court’s order, and issue appropriate sanctions. At a

 minimum, those sanctions should include extending the due dates for Innovation’s expert reports by

 30 days once Plaintiff completes its depositions.



 Dated: October 17, 2019                        Respectfully submitted,

                                                /s/ Randall T. Garteiser
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                              CERTIFICATE OF SERVICE
        I hereby certify that all counsel of record who are deemed to have consented to
 electronic service are being served with a copy of this document via the Court’s CM/ECF
 system per Local Rule CV-5(a)(3).

 DATED: October 17, 2019                             /s/ Randall T. Garteiser
                                                     Randall T. Garteiser
